, Case 1:17-cr-00384-Cl\/|A Document 39 Filed 09/06/18 USDC Colorado Page 1 Of 14

|N THE UN|TED STATES DlSTR|CT COURT
FOR THE D|STR|CT OF COLORADO

CASE NO. 17-Cr-00384-CMA
UN|TED STATES OF A|V|ER|CA,

Plaintiff,

1. ER|C RONALD BOLDUAN

Detendant.

 

ERIC BOLDUAN’S PLEA OF GU|LTY AND STATEMENT OF FACTS
RELEVANT TO SENTENC|NG (WlTHOUT PLEA AGREEMENT)

 

Defendant, Eric Ronald _Bolduanl personally and by counsel, Nlatthew Go|la1 submits this

Plea of Guilty and Statement of Facts Relevant to Sentencing;
l. PLEA OF GU|LTY

Eric Bolduan intends to plead guilty to the lndictment, which charges him with 3 counts
of Sta|king, in violation of 18 U.S.C. § 2261(A)(2)(B), and 3 counts of interstate
Communications, in violation of18 U.S.C. § 875(¢:)f without a plea agreementl

|l. ELEMENTS OF THE OFFENS|§
The parties agree that the elements of the offenses to which this plea is being tendered

are as follows:

18 U.S.C. § 2261A(2)(B)-Sta|king:

1. Defendant used any interactive computer service or any other facility of interstate and
foreign commerce, that it, the internet;

2. Defendant did so to engage in a course of conduct, including sending messages over

the internet;

COURT EXH|B|T

1

 

 

_ Case 1:17-cr-00384-C|\/|A Document 39 Filed 09/06/18 USDC Co|orado Page 2 of 14

3. That by engaging in such a course of conduct, the Detendant acted With the intent to
injure, harass, and intimidate a 'person, and

4. That such course of conduct caused substantial emotional distress to that person, and
would be reasonably expected to cause substantial emotional distress to such person.

18 U.S.C. § 2266(2) expressly defines a “course of conduct” as “a pattern composed of
2 or more acts, evidencing a continuity of purpose.”

18 U.S.C. §875(c) interstate Communications:

1. The defendant knowingly transmitted in a communication containing a threat to
injure the person of another as charged in the indictment;

2. The communication Was sent in'interstate commerce or foreign commerce; and

3. The defendant transmitted the communication forthe purpose of issuing a threatl
The United States advises that i_t agrees ¢»’)', disagrees { ), or takes no position ( ).

l||. STATUTORY PENALT|ES

The maximum statutory penalty for a violation of 18 U.S.C. § 2261A(2)(B) is: not more

than 5 years imprisonment not more than $250,000 fine, or both; not more than 3 years

supervised release; 8100 special assessment fee; plus restitution

The maximum statutory penalty for a violation of 18 U.S.C. § 875(0) is: not more than 5
years imprisonment not more than $250,000 fine, or both; not more than 3 years supervised

release; $100 special assessment fee; plus restitution

The Court will impose a separate sentence on each count of conviction and may1 to the
extent permitted by law, impose such sentences either concurrently with or consecutively to

each other.

lf probation or supervised release is imposed, a violation of any condition of probation or

supervised release may result in a separate prison sentence and additional supervision

The United States advises that it agrees pf disagrees ( ), or takes no position ( ).

2

. Case 1:17-cr-OO384-C|\/|A Document 39 Filed 09/06/18 USDC Co|orado Page 3 of 14

lV. COLLATERAL CONSEQUENCES
The conviction may cause the loss of civil rights, including but not limited to the rights to
possess tirearms, vote, hold elected office, and sit on a j_ury. lf lVlr. Bolduan is an alien, the
conviction may cause him to be deported or confined indefinitely if there is no country to which
he may be deported, to be denied admission to the United States in the future, and to be denied

citizenship

V. FACTUAL BAS|S TO SUPPORT THE PLEA OF GU|LTY

The parties agree that there is a factual basis for the guilty plea[s] that the defendant will tender
pursuant to this plea agreement That basis is set forth betow. Because the Court must1 as part
of its sentencing methodology, compute the advisory guideline range for the offense[s] of
conviction, consider relevant conduct, and consider the other factors set forth in 18 U.S.C.
§3553, additional facts may be included beiow which are pertinent to those considerations and
computations To the extent the parties disagree about the facts set forth below, the stipulation
of facts identifies which facts are known to be in dispute at the time of the execution of the plea

agreement

This stipulation of facts does not preclude either party from hereafter presenting the
Court with additional facts Which do not contradict facts to which the parties have stipulated and
which are relevant to the Court’s guideline computationsl to other 18 U.S.C. §3553 factors, or to

the Court’s overall sentencing decision.

The parties agree as follows: The investigation began as a complaint by one female
attending the University of Colorado, about emailsl postings and texts from an unknown person
or persons threatening to kill her and her sister. As the investigation continued, and more and

more victims were discovered all over the country.

Bo|duan’s criminal behavior for each victim in the indictment is as follows (identifying
information is redacted with a blank underline, or with initials):

3

 

, Case 1:17-cr-OO384-C|\/|A Document 39 Filed 09/06/18 USDC Co|orado Page 4 of 14

Count 1: Defendant began by posting pictures of ND on porn websites, listing her namel email
address and comments about her sexual behavior. The images included real non-pornographic

pictures of ND and also images that had the victim’s face on the pornographic images.

On 28 November 2015, user "_Exposer" created a post with eight images on the
pornographic website cumonprintedpics.com. The title of the post was "Cum on my roommate's
girlfriend" and contained the following text: "ND from Alamosa, Colorado

@co|orado.edu." Four of the images contained non-pornographic images of ND.
The other images were pornographic in nature were not of the victim but of a female who

resembled her.

On the same day 28, 2015, Defendant also created an imagefap.com (pomographic
website) user account "athletehumper." He created and up|oaded images to two ga|ieriesl one
of which was titled "Exposed Slut ND - repost anywhere". The gallery contained 12 images.
Three of the images were of the victim. The other nine images were pornographic in nature and

Were not of the victim but a female who resembled her.

The next day, ND discovered a posting to the myex.com website titled in her name. The
post contained the same images as those posted to the imagefap.com website. The post
contained the following text: "Horny little slut This whore is desperate for attention and will suck
and fuck anyone to get it. She is useful for a good time but trying to date her is a waste - she'l|
just try to fuck all of your friends. The only reason to date her would be to try to get closer to her
sister, who is a hot blonde." The purpose of the myex.com website appeared to be for people to

submit compromising images of their ex-girlfriends or ex-boyfriends, so-cailed “revenge porn.”.

On November 30, 2015, Defendant sent an email message to the victim's employer
(which was received) via the business website contact form. The message claimed to be from

"ryan.paulson@yahoo.com" stating, "l just Wanted to express my concern with ND being one of

 

. Case 1:17-cr-OO384-C|\/|A Document 39 Filed 09/06/18 USDC Co|orado Page 5 of 14

your instructors. She has a significant presence in the world of "adu|t" websites (i.e., "dirty

pictures"). This seriously detracts from what would othenivise be a nice local small business.”

On December 2, 2015, ND discovered yet another posting by the Defendant of her
pictures to the imagefap.com pornographic website. The gallery was created by the
imagefap.com user "co|orados|utexposer" and was titled "Exposed Slut ND - Repost
Everywhere". The gallery contained 12 images and appeared to be the same as those posted

by the "athletehumper" user.

On December 9l 2015, ND’s employer received another message via the business
website contact form from the Defendant, using a different fake name statingl "Great advertising
for your business and ND!!! http://fapdu.com/slut- .pics". Fapdu.com is a
pornographic website. On the same clay the victim’s father received the following from the
Defendant (originating from a guerri||amail.com anonymous email address): "Hello _, Attached
are some photos of [your daughter] that are spreading all over the internet. Thank you for
producing such a hot daughterl" Attached to the email were four pornographic images of a

female who appeared similar to the victim but was not her.

Counts 2 and 3: ln November 2015, ND’s twin sister JD started receiving comments on her blog

that were sexually explicit1 all posted by the Defendant.

For examp|e, on November 28, 2015, JD received the following comment to her
Wordpress weblog from Defendant, using her sister’s name: "For someone who went to collegel
that is a pathetic list of skills. |'ve read some of your writing and it is not very good. As far as l
can tell the only thing of any value you bring to this world is that hole between your legs." JD
next received the following on her blog: "Sorry, that was overly harsh. Those pathetic little
bumps you call breasts look like they would be fun to fond|e to but other than pleasuring men,
you seem worthless to me." The next comment stated: "Did you know that you don't even have
to come into this page -the search engine listing itself exposes your cell phone number. You

5

 

. Case 1:17-cr-OO384-C|\/|A Document 39 Filed 09/06/18 USDC Co|orado Page 6 of 14

really are a dumb bionde. BTW, in case you were wondering, this is the pic l use the most -

does it for me every time: [an lnstagram photo of JD]

The same day, as "_Exposer", Defendant created a post with ten images of the
victim and posted it to cumonprintedpics.com, The title of the post was "Cum on blonde slut
athlete" and contained the following text: "JD Ce|l: 719-xxx-xxxx." None of the images were
pornographic in nature and all were images of JD. Defendant then created user account
"athletehumper" on the pornographic website imagefap.com. He created and uploaded images
to a gallery titled "Athletic Slut JD - Non Nude". The gallery contained 20 images of the victim

which were not pornographic in nature.

On or about Niarch 17, 2016, the victim received the following comment to her weblog

from Defendant using the name Adam Rapeu:

i.ove dirty pics on|ine of you and jsister]. Can’t figure out which of you’d [sic] I’m going to
fck [sic] Hrst. '
The same day J'D received text messages from Defendant to her cell phone which were

sent from Guerrillamail.com:

“Hi, ___. lV|y dick Will soon be in you. |V|any times. By the time |'m done with you you’||
never want another man in you again

The next message an hour later said:

“ND The latest dump of porn pics of you and your sister include details on how to contact
you and a note indicating that that only reason pics of [sister] are being posted it out of
the posters [sic] hate of you. Do the honorable thing for your sister and kill yourself you
dumb slut.”

JD next received a comment on her weblog, posted by Defendant calling her a dumb

blonde slut again and stating that her “only talent” was being naked onlinel

On April 14, 2016, JD received a final comment to her weblog posted by Defendant as

“Adam Smith:”

 

. Case 1:17-cr-OO384-Cl\/lA Document 39 Filed 09/06/18 USDC Colorado Page 7 of 14

Hil ______l | don’t have any plans this summer We|l l didn’tl but now l’ve decided on how
best to use my free time - hunting youl` l w_ill find you and watch you - sticking to the
shadowsl learning your patternsl When the time is right i will strike. l will tie you up and
take you into my private area. i’|l have my way with you for days on end - alternating
between enjoying your body and beating it senseless. Once you are totally broken -
mentally and physically - l will slowly suffocate you. As the air slips away, l’|l be inside of
you the whole time. That way l can feel your body nervously shake as you anticipate
your demise. The finally [sic] jolts of your body as your life slips away will bring me to
climax, such that l will explode in you at the exact moment you pass away. Poetic, isn't
it? considered herself happy and full of life. Little did she know soon she
would be anything but.

Two weeks later on April 28, 2016, Defendant sent an email to JD’s father that said:

“l-li, |’m just writing to apologize ahead of time. l’m [sic] been watching _ for a long time
now - watching her online and in person Not a day has gone by in three years where l
haven’t achieved climax thinking about her. But l’m tired ofjust thinking - it‘s time to
move to the next |evel. l’d like to say l'll be gentle with her body and treat her kindlyl but l
know that isn't true."

Defendant posted pornographic images on at least nine different pornography websites
with JD’s pictures non-pornographic included. On four different dates agents found evidence of
upload_s of her pictures together with pornographic images to pornography websites. The
images all were made to look as though they were pictures of the victim_ Those images were

posted by Defendant from lV|ay 2018 to November 14, 2016.

Counts 4 and 5: On April 16, 2016, Defendant began stalking and threatening KK (a cross-
country team member with JD at the University of Colorado). Defendant sent her three emails
informing her of sexually explicit images of her on the internet. As With the other victims,
Defendant copied pictures from her |nstagram account, paired them with pornographic images
of similar looking Women and then posted them to pornographic websites. Defendant sent the
images to CU staff, the CU athletic departmentl and CU track and soccer teams. The email

stated:

Hi . l wanted to let you know that a set of images containing inappropriate
images of you have been posted to multiple sites and blogs. They've received thousands
of views and continue to be reposted to additional sites and blogs. The postings include
your name therefore everyone viewing them knows exactly who it is they are looking at.

7

 

, Case 1:17-cr-OO384-Cl\/lA Document 39 Filed 09/06/18 USDC Colorado Page 8 of 14

Numerous emails have also been sent out with these pictures attached These were
sent to students, coaches, and other faculty at our university and also to a number of
other universities and colleges. All of these emails included your name.

We want to make you famous. For the next few days we'|l continue to repost these
pictures on every site and blog we can find_ Then we'll give you a well earned break and
leave you alone for the remainder of this school year. S_tarting this fa|l, we'l| start to get
into the truly nasty stuff. Reposting pics with your contact information Posting the
information necessary for anyone to easy [sic] steal your identity. Offering cash rewards
to anyone who rapes and/or beats you and submits a video showing it. The internet is
full of crazy perverts - we just need to give them an incentive to focus their
attention/obsession on you. We want to make sure you are never safe and have the
resources necessary to accomplish that goa|.

lf you would prefer we stop now and leave you alone1 you have two options:
1. Leave the university and never come back

.2. Commit suicide

We would prefer #2, but will accept #1 as we||.- lf you do neither of these options then
we'll keep after you for as long as you are here. |f you somehow survive long enough to
graduate from CU, we'll take that to mean you want us sending pics to your new boss
and coworkers at each newjob you get. We'll be with you forever.

l hate to end by asking a favorl but lVlonday is my birthday. lt would mean a lot to me if
you did #2 before then so l could spend my birthday enjoying the thought of a world
without you in it.

Thanks,
)fltdaml founder of SlutSlayer

Defendant then sent another email that same dayl stating:

Here is a sample of the email that was sent out. This is just one of hundreds, with
multiple recipients per email. Technology is wonderful when ruining someone's life!

On Sat, 16 illiprl 2016 at 7:06:09 PN|, me <mark_wetmore@easy.com> wrote;
To: [VARIOUS Colorado.EDU recipients]
Cc: [VAR|OUS Colorado.EDU recipients]

has received national attention this week for her excelling during her senior
year in high school Please check out the attached photo.

Congratulations - you've made us all proudl
Attached to the email was a screenshot of a Webpage where legitimate, non-

pornographic, images of KK were posted along with pornographic images of a female who

 

. Case 1:17-cr-OO384-Cl\/lA Document 39 Filed 09/06/18 USDC Colorado Page 9 of 14

resembled the victim. Defendant also posted the pictures to several other pornography

websites. Defendant, using another name, then commented on his own post from April 18:

"Damn. | go to the same school as her - UC Boulder. After these pics leaked the
athletics department scrubbed every reference to her from their site. Hahaha - l love it
when bad shit happens to dumb sluts. Let [victim] know that you saw her hot little body -
[victim]@Colorado.edu."

On Sept 8, 2016, Defendant sent KK another threatening email. The email stated:

After thinking about it some morel maybe |'ll do [another student] first so you have time
to live with the guilt before following her to hell. l haven't decided yet. Either way-l win -
|'m going to love watching both of you choking on your own blood.

Defendant followed that email up with another threatening email on September 9, 2016, stating:

Hi Kaleigh. l regret that you did not take the advice l gave you in the spring and leave
CU. At the time l warned you that what happens to you this year would be far worse than
last year. |'m annoyed that you ignored me and growing bored with you so let's jump
right to the last phase - |'ve been following you, learning your schedule and daily
patterns When the time is right ~ probably while you are out for a run - l will slash your
throat and watch as you bleed to death. | have the perfect knife picked out and have it
nice and sharpr all ready for you. Since you couldn't obey my simple instructions once
|'m done with you l'|| go after Devon. So now you can die knowing that your sister will
soon be joining you and that it is ali your fault.

l__ove you,
lVle

Defendant sent another threat to KK on October11, 2016:

|'ve tried to be patient with you. |'ve tried to reason with you. |'ve done everything | can
think of to give you a chance to have a long happy lifel but you simply refuse to follow
simple instructions Removing yourself from the directory and not being listed on the CC
roster are NOT the same as leaving the university and never coming back. Why do you
have a death wish? l know that after l end your life |'m going to feel guilty about it for
years to come, but that knowledge won't for one minute stop me from ending you. l really
wish you had just left for both of our sake. Please reconsider soon before its too late_
This is your final warning. l'm not going away.

See you soon-ish.

 

. Case 1:17-cr-OO384-Cl\/lA Document 39 Filed 09/06/18 USDC Colorado Page 10 of 14

Count 6: On October 13, 2016, Defendant sent TT, a CU student and fellow cross-country team

member with .JD and KK, an email stating:

Hi m. You should have stayed in Georgia. But since you are here l want you to know
that l intend to be the last person you see before you die. | saw you on campus last
week and approached you from behind. As l got close l reached into my pocket and
wrapped my hand around my knife. l so wanted to take it out and slash your neck with it1
staring into your eyes as you choked to death on your own blood. Unfortunately there
were too many people around. But |'m going to keep watching youl following you, and
one day t will catch you in a situation where it is just the two of us. When the time comes
that you are laying on the ground in pain, struggling for breathl know that the strange
look on my face is me climaxing in my pants at the sight of you dying_ |'ve been
climaxing to photos of you for many weeks now - its going to be good to stare you
directly in the eyes for the first time, especially given that it will be the last thing you will
ever see.

Defendant followed up that email with another on October 17:

Subject: Your UC-Stalker/Executioner

Nice try you dumb cunnt [sic]. Nlaking your instragram account private isn't going to stop
me from jacking off to your pics - |'m one of your followers so all l have to do to see your
hot little body is to log in_ You shouldn't make your photos hard to get to ~ soon they are
all everyone will have left of you. `

Have you told your family and friends yet? No point in Waiting - you might wait too long.
‘(ou don't want your last thoughts to be those of regret

Admit it - |'ve made your life easier. No pressure anymore to excel at athletics or
academies - none of it matters anymore.

l so look forward to our time together. Does it excite you to think about it? Nlakes me
rock hard.

Take care.
p.s. Good luck trying to figure out which of your instagram followers l am!

A search warrant was obtained for the Bolduan residence and was executed on June 7,
201?. Eric_Bo|duan consented to an interview during the search and admitted to being
responsible for all of the harassment and threatening activity targeting al the named victims in
the lndictment, A large volume of digital evidence was seized from the residence and reviewed
information corroborating Bolduan’s statements that he was responsible for the activity was

found on the evidence seized from the residence, including names and pictures of all four

10

 

. Case 1:17-cr-OO384-Cl\/lA Document 39 Filed 09/06/18 USDC Colorado Page 11 of 14

victims ln a subsequent interview, Defendant admitted to intending to threaten and frighten the

victims

Boiduan described his modus operandi: he would download images of the victims from
various public internet and social networking sites such as lnstagram.com_ He would then find
online pornographic images of women who resembled the victim. He would upload the victim’s
|egitimate, non-pornographic images alongside the pornographic images of the similar looking
female to various pornographic websites He wouid include the victim’s name, school and
contact information The purpose was to portray the victim as involved in pornography and

p_romiscuous behavior.

Bolduan would then email links of those pornographic postings to the victim
herself, and to people the victim was associated with, including professorsl teammates and
family members Bolduan would then send threatening emails to the victim, discussing how he
was stalking her with the ultimate plan to rape, torture and kill her.

The United States advises that it agrees M disagrees ( ), or takes no position ( ).
vr. LN_T_§NClNG coMPuTATroN

lVlr. Bolduan understand that the imposition of a sentence in this matter is governed by
18 U.S.C. §3553. ln determining the particular sentence to be imposed, the Court is required to
consider seven factors One of those factors-is the sentencing range computed by the Court
under advisory guidelines issued by the United States Sentencing Commission. ln order to aid
the Court in this regardl iv'lr. Bolduan set forth below their estimate of the advisory guideline
range called for by the United States Sentencing Guidelines. To the extent that the parties
disagree about the guideline computations the recitation below identifies the matters which are

in dispute.

A. The base guideline for interstate communications is § 2A6.1, with a base offense

level of 12.

11

 

., Case 1:17-cr-OO384-Cl\/lA Document 39 Filed 09/06/18 USDC Colorado Page 12 of 14

B. There are an additional 2 points added under 2A6.1(2)(A) because the offense

involved more than two threats
C. The adjusted offense level is 14.
D. The base guideline for cyberstalking is § 2A6.2, with a base offense level of 18.

E. There are an additional 4 points added under § 2A6.2(b) because the offense
involved the threatened use of a dangerous weapon under (b)(1)(D) and a pattern of activity

involving the same victim under (b)(1)(E).
F. The adjusted offense level is 22_

G. Pursuant to § 3D1.4, the following groupings each receive one unit, yielding a
total 'of 3 units: the grouping of Count 1l the grouping of Counts 2 and 3, and the grouping of
Counts 4 and 5. Pursuant to 3D1.4(c), the grouping of Count 8 yields no units The resulting 3

units yield a 3-level increase, resulting in a combined adjusted offense level of 25.

H. Defendant should receive a decrease in the offense level by -2 based upon his
` acceptance of responsibility § 3E1_1(a). Defendant should also receive a decrease in the
offense level by -1 for timely notifying the government § 3-E1.1(b). At sentencing, the
government will make the appropriate motion for the one-point reduction The adjusted offense

level for the interstate communications is 11 and cyberstalking it is 22.

l. The parties understand that the defendants criminal history computation is
tentative The criminal history category is determined by the Court based on the defendants
prior convictions Based on information currently available to the parties1 it is estimated that the

defendants criminal history category would be l.

J. The career offender/criminal livelihood/armed career criminal adjustments do not

apply.

12

 

. Case 1:17-cr-OO384-Cl\/lA Document 39 Filed 09/06/18 USDC Colorado Page 13 of 14

K. The advisory guideline range resulting from these calculations is 8-14 months for the
interstate communications counts and 41~51 months for the stalking counts However, in order
to be as accurate as possiblel with the criminal history category undetermined at this time, the
offense levels estimated above could conceivably result in a range from 8-14 months for
criminal history category l, all the way to 27-33 months for criminal history category Vi for
interstate communications and 30-37 months for criminal history category l, all the way to 63-78
months for criminal history category Vl for cyberstalking depending on the actual criminal
history. The guideline range would not exceed1 in any case, the cumulative statutory maximums

applicable to the counts of conviction

L. Pursuant to guideline § 5E1.2, assuming the estimated offense level above, the
fine range for this offense would be $ 4,000 to $40,000 plus applicable interest and penalties
for interstate communications and $10,000 to $100,000 plus applicable interest and penalties

for cyberstalking.

|\l|l Pursuant to guideline § 501.2, if the Court imposes a term of supervised releasel

that term is not more than 3 years

lVIr. Bolduan understands that although the Court will consider this guideline, the Court
must make its own determination of the guideline range ln doing sol the Court is not bound by

the position of any party.

lV|r. Bolduan understands that the Court is free, upon consideration and proper
application of all 18 U.S.C. §3553 factors to impose that reasonable sentence which it deems
appropriate in the exercise of its discretion and that such sentence may be less than that called
for by the advisory guidelines (in length or form), within the advisory guideline range, or above
the advisory guideline range up to and including imprisonment for the statutory maximum term,

regardless of any computation or position of any party on any 18 U.S.C. §3553 factor.

13

 

. Case 1:17-cr-OO384-Cl\/lA Document 39 Filed 09/06/18 USDC Colorado Page 14 of 14

The United States advises that it agrees ( ), disagrees ( ), or takes no position V)/

Date: 9 [G//g Cl:` 'I Q’ "
- Eric Miehael Bolduan
Defendant

 

 

Date: 2 j ge t z §

As to matters agreed to by the United States:

/
siler %¢L_ls f/QZ \/s,~s.»-`

Valeria Spencer 0

Assistant U S. Attorney

 

Nlatthew C. Golla' “'
Attorney for Defendant

14

 

